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 5
     Attorney for Defendant
 6   JONATHAN LUCAS
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 )
                                               ) Case No. 6:15-mj-0001-MJS
12                    Plaintiff,               )
                                               ) MOTION TO TERMINATE PROBATION
13   vs.                                       ) PURSUANT TO 18 U.S.C. § 3564(c); ORDER
                                               )
14   JONATHAN LUCAS,                           )
                                               )
15                    Defendant.               )
                                               )
16                                             )
17          Defendant Jonathan Lucas, by and through his counsel of record, Assistant Federal
18   Defender Hope Alley, hereby moves for early termination of his term of unsupervised probation
19   pursuant to 18 U.S.C. § 3564(c). The government does not object to early termination of Mr.
20   Lucas’s term of unsupervised probation.
21          On May 5, 2015, the Court sentenced Mr. Lucas to thirty days of custody, suspended for
22   the period of probation, 36 months of unsupervised probation, 240 hours of community service, a
23   $30 special assessment fee, and ordered that Mr. Lucas complete post-plea booking. See Docket
24   11 (Judgment). The Court scheduled a review hearing for May 3, 2015. At this review hearing,
25   the Government reported no new violations, and the Court found that conditions of Mr. Lucas’s
26   probation had been met thus far. See Docket 22 (Minutes). The Court also stated on record that
27   it would consider early termination of probation if Mr. Lucas continued to comply.
28          Mr. Lucas has continued to comply with the terms of his probation, and at this point, he
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 1   has fulfilled every requirement of probation, including completing 240 hours of community
 2   service. Accordingly, Mr. Lucas now requests that the Court terminate his term of unsupervised
 3   probation and permanently suspend the 30 days of custody. Mr. Lucas is gainfully employed
 4   and working for the national parks. He went above and beyond the requirements the Court
 5   imposed by completing 241 hours of community service with Goodwill Industries well before
 6   the end of his probation. He has not had any new violations of law over the past two and a half
 7   years. Under the circumstances, there is no need for Mr. Lucas to remain on unsupervised
 8   probation until April 3, 2018, and thus he requests that the Court terminate his term of
 9   unsupervised probation pursuant to 18 U.S.C. § 3564(c).
10
11                                                 Respectfully submitted,
12
                                                   HEATHER E. WILLIAMS
13                                                 Federal Defender
14
15   Date: November 13, 2017                       /s/ Hope Alley
                                                   HOPE ALLEY
16                                                 Assistant Federal Defender
                                                   Attorney for Defendant
17                                                 JONATHAN LUCAS
18
19                                               ORDER
20            Pursuant to Mr. Lucas’s request for early termination of his term of unsupervised
21   probation, the Court hereby terminates Mr. Lucas’s term of unsupervised probation pursuant to
22   18 U.S.C. § 3564(c), in case number 6:15-mj-0001-MJS. Mr. Lucas’s term of unsupervised
23   probation is terminated as of the date of this Order.
24
25   IT IS SO ORDERED.
26
27
         Dated:          November 13, 2017                   /s/   Michael J. Seng
                                                        UNITED STATES MAGISTRATE JUDGE
28

      fggfff – Motion to Terminate Probation
      Lucas                                           -2-
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     fggfff – Motion to Terminate Probation
     Lucas                                    -3-
